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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


JOHN DOE,                        )
                                 )
          Plaintiff,             )
                                 )                        Case No. 17-cv-748
    v.                           )
                                 )                        Judge Amy St. Eve
COLUMBIA COLLEGE CHIGAGO et al., )
                                 )
                                 )
          Defendants.            )

                     PLAINTIFF’S SURREPLY TO
DEFENDANT JAN ROE’S REPLY IN SUPPORT OF HER MOTION TO STRIKE JOHN
        DOE’S ANSWER TO HER COUNTERCLAIM IN DOCKET 74

        Plaintiff John Doe (“Doe”) respectfully requests this Court reject new – and false –

allegations1 contained in Defendant Jane Roe (“Roe’s”) reply brief in Docket 74 (“Roe’s Reply”)

which Roe filed in support of Roe’s motion to strike in Docket 67 (“Roe’s MTS”).                  For, Roe

alleges – for the first time – that portions of Doe’s Answer should be struck because his attorney

refused to engage in “a meet-and-confer process mandated by Local Rule 37.2.” Doc. 74,

PageId.4075.

        This allegation is false in part because Doe’s attorney has never refused a meet-and-confer

request by Roe’s attorney. See generally, Exhibit 1, ¶2 (containing affidavit of Doe’s attorney Eric

Rosenberg (“Rosenberg”)). Moreover, when Roe’s attorney and Doe’s attorney had phone

conversations, Roe’s attorney never expressed a compromise position regarding his demands

related to Doe’s Answer to Roe’s Counterclaim. Id., ¶3.



1
 See e.g., Peterson v. Village of Downers Grove, 103 F.Supp.3d 918, (N.D. Ill. 2015)(finding “[a]rguments
raised for the first time in reply briefs are ordinarily waived, and rightly so given the lack of opportunity
for the other party to respond to them.”)(citing Carroll v. Lynch, 698 F.3d 561, 564 n. 2 (7th Cir.2012)).
                                                     1
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       In addition, the emails attached to Roe’s Reply disprove Roe’s allegation that Doe’s

attorney “indicated no desire to work through the parties’ disputes outside of motion practice.”

Doc. 74, PageId.4075. This is partly because these emails prove: (a) Roe’s attorney never

presented a proposal for working through the parties’ disputes outside of motion practice, and (b)

Doe’s attorney actually agreed to requests made by Roe’s attorney. See generally, Doc.74-1,

PageId.4079-80 (containing Rosenberg’s email agreeing to request from Roe’s attorney that

Rosenberg “not raise mootness or unripeness defenses to [Roe’s] renewed motion to strike. . . .”).

       Roe also raised new – and false – arguments by alleging Doe’s attorney has a history of

“shun[ing] Roe’s counsel’s attempts to work through this dispute.” Doc.74, PageId.4075. This

claim is false in part because it is Roe’s attorney who has repeated shunned attempts at compromise

by engaging in practices such as threatening to allow the public discrimination of Doe’s real name

unless Doe agreed to Roe’s settlement demands. Exhibit 1, ¶4.

       As a result, Doe respectfully requests this deny Roe’s MTS in part because it is based on

false arguments.

                                             Respectfully submitted,
                                             Attorneys for John Doe

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                               CERTIFICATE OF SERVICE

       A copy of the foregoing was electronically filed with the Court and served via the

CM/ECF system and/or U.S. mail and/or email upon the following on the 1st day of March 2018:

              Michael R. Lieber
              Lieber Law Group LLC
              123 North Wacker Drive, Suite 1600
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                                                    /s/ Eric Rosenberg
                                                    Eric J. Rosenberg (Ohio Bar #0069958)




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